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12   Co-Lead Class Counsel for Indirect-Purchaser Plaintiffs

13
                               UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                    SAN FRANCISCO DIVISION
16
     IN RE TFT-LCD (FLAT PANEL)                    )   Case No. 3:07-MD-1827 SI
17   ANTITRUST LITIGATION                          )   MDL No. 1827
                                                   )
18                                                 )
     This Document Relates to:                     )   [PROPOSED] ORDER RE:
19                                                 )   DISTRIBUTION FROM ESCROW
     All Indirect-Purchaser Actions;               )   FUNDS FOR CLAIMS
20                                                 )   ADMINISTRATION
     State of Missouri, et al. v. AU Optronics     )
21   Corporation, et al., Case No. 10-cv-3619;     )
                                                   )   The Honorable Susan Illston
22   State of Florida v. AU Optronics Corporation, )
     et al., Case No. 10-cv-3517; and              )
23                                                 )
     State of New York v. AU Optronics             )
24   Corporation, et al., Case No. 11-cv-0711.     )
                                                   )
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       [PROPOSED] ORDER RE: DISTRIBUTION FROM ESCROW FUNDS FOR CLAIMS ADMINISTRATION
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 1          WHEREAS, on December 27, 2011, the Court granted final approval to settlements

 2   between the Indirect-Purchaser Plaintiffs (“IPPs”) and the States of Arkansas, California,

 3   Florida, Michigan, Missouri, New York, West Virginia, and Wisconsin (“Settling States”) on the

 4   one hand, and defendants Chimei, Chunghwa, Epson, HannStar, Hitachi, Samsung and Sharp, as

 5   identified in the respective Settlement Agreements, and inclusive of related entities also

 6   identified in the respective Settlement Agreements (collectively, “Group-I Settling Defendants”),

 7   on the other hand; and

 8          WHEREAS, on July 30, 2012, the Court granted preliminary approval to the settlements

 9   between IPPs and the Settling States, and defendants AUO, LG and Toshiba, as identified in the

10   respective Settlement Agreements (collectively, “Group-II Settling Defendants” and with the

11   Group-I Settling Defendants referred to hereafter as “All Settling Defendants”), on the other

12   hand; and

13          WHEREAS, the Settlement Agreements with All Settling Defendants provide that the

14   costs of administration of the claims process shall be paid from the Settlement Fund of each

15   Settling Defendant, pro rata, based on each Settling Defendant’s Settlement Amount; and

16          WHEREAS, the cost of claims administration invoiced by Rust Consulting is $63,220.30

17   (see Exhibit 1 attached hereto); and

18          WHEREAS, pursuant to the Settlement Agreements the following amounts may be

19   deducted from each Settling Defendant’s Settlement Fund to pay such costs of claims

20   administration:

21                  Chimei                              $6,442.84

22                  Chunghwa                              $309.96

23                  Epson                                 $166.51

24                  HannStar                            $1,498.63

25                  Hitachi                             $2,277.29

26                  Samsung                            $14,022.27

27                  Sharp                               $6,748.22

28                  AUO                                 $9,435.82
                                              1
       [PROPOSED] ORDER RE: DISTRIBUTION FROM ESCROW FUNDS FOR CLAIMS ADMINISTRATION
               Case 3:07-md-01827-SI Document 9181 Filed 08/04/14 Page 3 of 6


 1                   LG                                $21,091.81

 2                   Toshiba                            $1,226.95

 3                   TOTAL                             $63,220.30
 4            WHEREAS, Well Fargo Bank, N.A. has informed the parties that it requires an order
 5   from the Court before it will distribute payment for these additional costs;
 6            THEREFORE, IT IS HEREBY ORDERED that Wells Fargo Bank, N.A. shall wire
 7   $63,220.30 to the following account:
 8                   Bank of Texas
 9                   ABA/Routing # 111014325
10                   Account # 8093434387
11                   Account Name: Rust Consulting
12                   Reference # 128325
13                   Federal Tax ID # XX-XXXXXXX
14                   Bank Contact: Mayra Landeros, (214) 987-8817
15            The balance of funds in the demand-deposit account, if any, shall be retained for
16   additional costs as they are incurred.
17

18   IT IS SO ORDERED.
19

20   Dated:      8/1                 , 2014
                                                   Hon. Susan Illston
21                                                 United States District Judge

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       [PROPOSED] ORDER RE: DISTRIBUTION FROM ESCROW FUNDS FOR CLAIMS ADMINISTRATION
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            EXHIBIT 1
                  Case 3:07-md-01827-SI Document 9181 Filed 08/04/14 Page 5 of 6

                                                                                                                      Invoice

 625 MARQUETTE AVENUE, SUITE 880                                                                   DATE:                            07/18/14
 MINNEAPOLIS, MN 55402                                                                             INVOICE #:                       14-5197
 P 612.359.2000 I F 612.359.2050                                                                   MATTER #:                            8292
 WWW.RUSTCONSULTING.COM
 FEDERAL ID #: XX-XXXXXXX


 TO:   Francis O. Scarpulla
       Zelle Hofmann Voelbel & Mason LLP
       44 Montgomery Street
       Suite 3400
       San Franciso, CA 94104
       fscarpulla@zelle.com
       jdc@coopkirk.com

                                                                 PROJECT
                                                          LCD Indirect
                                            June 2014 Claims Administration Services

 Project Database                                                                                                        $          710.70
 Project Management                                                                                                               5,723.10
 Technical Consulting                                                                                                               427.90
 Website Setup                                                                                                                      118.11
 Website Modification                                                                                                               479.85
 Document Receipting                                                                                                                527.19
 Claim Forms Submitted (259 @ $0.15 each)                                                                                            38.85
 Scanning                                                                                                                           284.89
 Correspondence/Admin Mail                                                                                                        3,757.00
 Data Capture                                                                                                                     2,888.45
 Claims Validation & Audits                                                                                                      31,190.00
 Deficiency Claim Processing                                                                                                     12,872.69
 Mailroom & Data Capture Management                                                                                                  90.15
 Call Center Support                                                                                                              1,358.54
                                                                                                         SUBTOTAL                60,467.42

 Expenses: Other Charges and Out-of-Pocket Costs
 Call Center/Telecommunications                                                                                                   1,577.33
 Postage/Federal Express                                                                                                             24.40
 Post Office Box Rental                                                                                                             609.00
 Shredding/Storage                                                                                                                  132.75
 Photocopies/Faxing/Printing                                                                                                        109.40
 Website Hosting                                                                                                                    300.00
                                                                                                         SUBTOTAL                 2,752.88

                                                                                                   TOTAL INVOICE        $        63,220.30

                                                                                 PAYMENT TERMS: NET DUE UPON RECEIPT
 WIRE INFORMATION                                         RUST
 ACCOUNT #: 8093434387                                    PAYMENT MAILING ADDRESS:
 ABA/ROUTING # WIRE or ACH: 111014325                     P O BOX 142589
 BANK: BANK OF TEXAS, DALLAS, TX 75225                    DRAWER #9051
 BANK CONTACT: MAYRA LANDEROS 214.987.8817                Irving, TX  75014-2589




MINNEAPOLIS, MN    FARIBAULT, MN   MELVILLE, NY   PALM BEACH GARDENS, FL   PHILADELPHIA, PA   SAN FRANCISCO, CA   SEATTLE, WA   WASHINGTON, DC
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                                                                                               DATE:          07/18/14
                                                                                           INVOICE #:
                                                                                           MATTER #:             8292
STATEMENT OF ACCOUNT


Current Invoice Period:     June 2014 Claims Administration Services


Total Current Invoice                                                                                   $   63,220.30


OUTSTANDING INVOICES:
                            Date               Invoice #               Amount   Payments    Balance
                            12/17/13           138853              3,240.40                 3,240.40



PREVIOUS BALANCE DUE                                                                                    $    3,240.40



Total Amount Due                                                                                        $   66,460.70


WIRE INFORMATION                               RUST                              PAYMENT TERMS: NET DUE UPON RECEIPT
ACCOUNT #: 8093434387                          PAYMENT MAILING ADDRESS:
ABA/ROUTING # WIRE or ACH: 111014325           P O BOX 142589
BANK: BANK OF TEXAS, DALLAS, TX 75225          DRAWER #9051
BANK CONTACT: MAYRA LANDEROS 214.987.8817      Irving, TX  75014-2589
REFERENCE: INVOICE NUMBER
